986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank Ervin ALTIZER, Jr., Plaintiff-Appellant,v.D. A. BRAXTON;  L. R. Day;  Sergeant Welcher;  R. D. Boyers;Sergeant Taylor;  L. G. Taylor;  Sergeant Day;  UnknownDefendants; Edward W. Murray;  Edward C. Morris;  Larry W.Huffman;  Lonnie Saunders;  John Taylor;  Jack Lee;  M. C.Millard;  R. L. Cook; Sergeant Redman;  L. Troxell;  J.Craft;  S. Sprouse;  Nurse Fleshman;  Unknown MedicalDoctor, Defendants-Appellees.
    No. 92-7188.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 25, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-462-R)
      Frank Ervin Altizer, Jr., Appellant Pro Se.  William Rundahl Coleman, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Frank Ervin Altizer, Jr., appeals the district court's order dismissing this action filed under 42 U.S.C. § 1983 (1988).  Acting pursuant to 42 U.S.C. § 1997e (1988), the district court ordered Plaintiff to exhaust administrative remedies and to advise the court within one hundred days of the result of the administrative proceedings.  It warned Plaintiff that failure to advise the court regarding exhaustion would result in dismissal of the action.  Plaintiff failed to comply with this order, and the district court dismissed the case without prejudice upon expiration of the allowed period.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. § 1997e.  Its dismissal of the action, without prejudice, when Plaintiff failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    